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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                     )
                                              )
              Plaintiff,                      )
                                              )
v.                                            )          Case No. CR-18-227-SLP
                                              )
JOSEPH MALDONADO-PASSAGE,                     )
                                              )
              Defendant.                      )

                                        ORDER

       Before the Court is the Government’s Unopposed Motion for Protective Order

Pertaining to FBI Undercover Employee at Trial [Doc. No. 100]. The Court previously

denied an opposed request by the Government for an FBI employee who continues to

function in an undercover capacity in other investigations (and functioned in such a

capacity during the Government’s investigation of Defendant) to testify via pseudonym at

trial in this matter because the Government failed to satisfy the standard for such testimony

provided by United States v. Gutierrez de Lopez, 761 F.3d 1123 (10th Cir. 2014). See

Order of Mar. 14, 2019, Doc. No. 99.

       After the Court’s decision, the Government and Defendant reached an agreement

regarding the logistics of testimony by the FBI agent—whereby Defendant agrees that the

undercover agent may testify via pseudonym at trial, but the undercover agent’s true

identity will be (or has been) revealed to defense counsel to allow them to adequately

prepare for cross-examination of the Government’s witness. Such a disclosure fulfills the

necessary requirement for effective cross-examination of via-pseudonym testimony. See
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Gutierrez de Lopez, 761 F.3d at 1142-43, 1146 (collecting cases).1 Based on the agreement

of the parties and the additional information conveyed to defense counsel by the

Government, the Government’s Unopposed Motion for Protective Order Pertaining to FBI

Undercover Employee at Trial [Doc. No. 100] is GRANTED.

      IT IS THEREFORE ORDERED that the FBI agent who acted in an undercover

capacity in the investigation of Defendant may testify via pseudonym at trial.

      IT IS SO ORDERED this 19th day of March, 2019.




1
  Based on the agreement reached between the parties, Defendant has abandoned and
effectively withdrawn his Confrontation-Clause-based objection to the Government’s
request for via-pseudonym testimony. Compare Def.’s Resp. to Mot. for Protective Order,
Doc. No. 92, with Unopposed Mot. for Protective Order, Doc. No. 100.

                                            2
